776 F.2d 877
    PHOENIX BAPTIST HOSPITAL &amp; MEDICAL CENTER, INC., a nonprofitcorporation dba Phoenix Baptist Hospital andMedical Center, Plaintiff/Appellantv.Margaret M. HECKLER, Secretary of Health and Human Services,Defendant/Appellee.
    No. 84-2732.
    United States Court of Appeals,Ninth Circuit.
    Nov. 19, 1985.
    
      1
      Patric Hooper, Weissburg &amp; Aronson, Inc., Los Angeles, Cal., for plaintiff-appellant.
    
    
      2
      Michael R. Power, San Francisco, Cal., for defendant-appellee.
    
    
      3
      Before ANDERSON and CANBY, Circuit Judges and IDEMAN* District Judge.
    
    ORDER
    
      4
      The opinion in this case, filed August 5, 1985, and appearing at 767 F.2d 1304, is modified as follows:
    
    
      5
      Replace footnote 5 at page 1307 with the following:
    
    
      6
      The Secretary's liquidity requirement is reasonably derived from the regulatory purpose of funding depreciation "as a means of conserving funds for the replacement of depreciable assets."    42 C.F.R. Sec. 405.415(e).  The requirement represents no more than "a fine tuning of doctrine that does not require rulemaking unless it imposes severe hardship or circumvents existing rules."   Cities v. FERC, 723 F.2d 656, 659 (9th Cir.1984).
    
    
      7
      The opinion having been so amended the petition for rehearing is denied.  The full court having been advised of the amendment, and no judge having objected to the amendment or having called for rehearing en banc, the suggestion for rehearing en banc is rejected.
    
    
      
        *
         The Honorable James M. Ideman, United States District Judge for the Central District of California, sitting by designation
      
    
    